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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

AMGEN INC.; AMGEN MANUFACTURING,             )
LIMITED; and AMGEN USA INC.                  )
                                             )      C.A. No.: 14-1317-RGA
          Plaintiffs,                        )      (CONSOLIDATED)
                                             )
                    V.                       )
                                   )
SANOFI; SANOFI-AVENTIS U.S . LLC;  )
A VENTISUB LLC, f/d/b/a AVENTIS    )
PHARMACEUTICALS INC., and REGENERON)
PHARMACEUTICALS, INC.,             )
                                   )
           Defendants.             )




                                       VERDICT
In the following questions, "Amgen" refers to plaintiffs Amgen Inc., Amgen Manufacturing,
Limited, and Amgen USA Inc. , and "Sanofi-Regeneron" refers to defendants Sanofi, Sanofi-
Aventis US. LLC, Aventisub LLC, fld/bla Aventis Pharmaceuticals Inc., and Regeneron
Pharmaceuticals, Inc.

                                            VALIDITY

1. The '165 patent

       a. Has Sanofi-Regeneron proven by clear and convincing evidence that the following

claims of the '165 patent are invalid because the patent does not enable a person of ordinary skill

in the art to make or use the invention of the following claims of the '165 patent?


                         Checking 'yes" below indicates a finding for Sanofi-Regeneron.

                         Checking "no " below indicates a finding for Amgen.

               Claim 7          Yes           NoJL

               Claim 15         Yes           No~

               Claim 19         Yes           No-1.L_

               Claim 29         Yes           No   ✓

       b. Has Sanofi-Regeneron proven by clear and convincing evidence that the following

claims of the '165 patent are invalid because the patent lacks adequate written description?


                         Checking "yes" below indicates a finding for Sanofi-Regeneron.

                         Checking "no" below indicates a finding for Amgen.

               Claim 7          Yes ✓         No

               Claim 15         Yes   ✓       No

               Claim 19         Yes           Nov

               Claim 29         Yes           No ✓
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      2. The '741 patent

             a. Has Sanofi-Regeneron proven by clear and convincing evidence that claim 7 of the

      '741 patent is invalid because the patent does not enable a person of ordinary skill in the art to

      make or use the invention in claim 7 of the '741 patent?


                               Checking "yes " below indicates a finding for Sanofi-Regeneron.

                               Checking "no" below indicates a finding for Amgen.

                     Claim 7          Yes           No~



             b. Has Sanofi-Regeneron proven by clear and convincing evidence that claim 7 of the

      '741 patent is invalid because the patent lacks adequate written description?


                               Checking "yes" below indicates a finding for Sanofi-Regeneron.

                               Checking "no " below indicates a finding for Amgen.

                     Claim 7          Yes           No   V-


      Continue to next page.




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.,   .
                       '   '




         We, the jurors, by signing below, indicate our unanimous verdict.




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